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 9      Attorneys for Defendant
        KENNETH PETTY
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12
                              UNITED STATES DISTRICT COURT
13
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
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15
          UNITED STATES OF AMERICA,                     Case No. 2:20-CR-00108-MWF
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                     Plaintiff,                         DEFENDANT’S EX PARTE
17                                                      APPLICATION TO CONTINUE
                              vs.                       SENTENCING HEARING;
18                                                      DECLARATION OF HAGOP
          KENNETH PETTY,                                KUYUMJIAN
19
                     Defendant.
20
21
22      TO    TRACY L. WILKISON, UNITED STATES ATTORNEY FOR THE
23            CENTRAL DISTRICT OF CALIFORNIA; SCOTT GARRINGER,
24            ASSISTANT UNITED STATES ATTORNEY, CHIEF, CRIMINAL
25            DIVISION; AND KATHRYNNE SEIDEN, ASSISTANT UNITED STATES
26            ATTORNEY:
27      TO    THE CLERK OF THE COURT

28


                    DEFENDANT’S EX PARTE APPLICATION TO CONTINUE SENTENCING HEARING
     Case 2:20-cr-00108-MWF Document 64 Filed 06/08/22 Page 2 of 4 Page ID #:265




 1            Defendant Kenneth Petty (“Defendant”), by and through counsel, hereby applies
 2      this Court for an Order continuing the sentencing hearing to July 6, 2022 or a date
 3      thereafter convenient with the Court and the parties. The sentencing hearing is presently
 4      set for June 29, 2022. This request is made in good faith and not for unnecessary delay.
 5
 6      DATED: June 7, 2022                           GOLDSTEIN LAW GROUP
                                                      ______/s/______________________
 7                                                    MICHAEL A. GOLDSTEIN
                                                      Attorney for Defendant
 8                                                    KENNETH PETTY
 9
                                                      THE KUYUMJIAN FIRM, APC
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                                                      ______/s/______________________
11                                                    HAGOP KUYUMJIAN
                                                      Attorney for Defendant
12                                                    KENNETH PETTY
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                    DEFENDANT’S EX PARTE APPLICATION TO CONTINUE SENTENCING HEARING
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 1                            DECLARATION OF HAGOP KUYUMJIAN
 2      I, Hagop Kuyumjian, declare:
 3         1. I hereby declare the following and certify that the same is true of my own personal
 4            knowledge, except as those matters which are herein stated upon information and
 5            belief and as to those matters I believe them to be true, and I further declare that
 6            I could and would competently testify to such matters if called upon to so testify
 7            in Court.
 8         2. I am one of the attorneys of record for Defendant Kenneth Petty (“Mr. Petty”).
 9            Mr. Petty’s sentencing is presently set for June 29, 2022.
10         3. I also represent Behrang Dehkordi, M.D. in Case Number 800-2020-064289
11            before the State of California Department of Consumer Affairs. That matter is
12            set for hearing and the hearing is scheduled to commence on June 29, 2022.
13         4. Further, the defense expert has notified counsel that additional time is needed to
14            complete the expert report on this matter. The defense expert, Nadim Karim,
15            Ph.D. (“Dr. Karim”) anticipates completing the report on or about June 22, 2022.
16            The report will be a psychological assessment that focuses on Mr. Petty’s risk
17            level and characteristics.
18         5. The defense is requesting that the sentencing hearing be reset for July 6, 2022.
19            This will allow the defense expert sufficient time to complete the report and
20            counsel enough time to file the report in advance of the sentencing hearing.
21         6. In the alternative, if the Court is not inclined to continue the sentencing date, the
22            defense asks for permission to file the expert report with the defense reply to the
23            Government’s sentencing position on June 22, 2022.
24         7. If the Court is inclined to continue the sentencing hearing but the date of July 6,
25            2022 is unavailable, the defense requests a date in the second week of July or a
26            different date convenient with the Court and the parties. The defense was
27            previously notified that July 6, 2022 would be available for the sentencing hearing
28            in this case.
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                    DEFENDANT’S EX PARTE APPLICATION TO CONTINUE SENTENCING HEARING
     Case 2:20-cr-00108-MWF Document 64 Filed 06/08/22 Page 4 of 4 Page ID #:267




 1         8. The Government has been notified about this application and objects to
 2            continuing the sentencing hearing. The Government takes no position on the
 3            defense’s request to file the expert report on June 22, 2022.
 4
 5         I declare under penalty of perjury of the laws of the United States that the forgoing
 6      is true and correct to the best of my knowledge and belief. Executed on June 7, 2022 in
 7      Los Angeles County, California.
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                                                      ______/s/______________________
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                                                      HAGOP KUYUMJIAN
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                    DEFENDANT’S EX PARTE APPLICATION TO CONTINUE SENTENCING HEARING
